Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 1 of 24 Page ID #:45




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    6
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    7   SOUTHERN CALIFORNIA DARTS ASSOCIATION.

    8                      UNITED STATES DISTRICT COURT
    9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10                               WESTERN DIVISION
   11
        SOUTHERN CALIFORl'JIA DARTS             CASE NO. 2:12-CV-01899 RGK
   12
        ASSOCIATION, a California
   13   unincorporated association,              MEMORANDUM OF POINTS
                                                 AND AUTHORITIES IN
   14                                            SUPPORT OF PLAINTIFF'S
                      Plaintiff,
   15         vs.                                MOTION FOR PRELIMINARY
        SOUTHERN CALIFORNIA DARTS                INJUNCTION
   16
        ASSOCIATION, INC., a California
   17   corporation, DINO M. ZAFFINA, an         [DECLARATIONS OF L. DAVID
        individual, and DOES 1-10,               IRETE; NAOMI STRAUS; AND
   18
                                                 MATT CANALE FILED
   19                                            CONCURRENTLY HEREWITH;
                                                 [PROPOSED] ORDER LODGED
   20                 Defendants.                CONCURRENTLY HEREWITH]
   21
                                                Date: April16, 2012
   22
                                                Time: 9:00a.m.
   23                                           Courtroom: 850
   24
   25
   26
   27
   28
                              MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 2 of 24 Page ID #:46




    1                                        TABLE OF CONTENTS
    2   I.     INTRODUCTION ........................................................................................ 1

    3   II.    STATEMENT OF THE FACTS .................................................................. 3

    4          A.       Southern California Darts Association .............................................. 3

    5          B.       Expungement of Defendant Zaffina From SCDA ............................. 4

    6          C.       Formation of Zaffina Co .................................................................... 5

    7          D.       Zaffina Co. Press Releases and State Court Action ........................... 5

    8          E.       Evidence of Actual Confusion from Defendants' Infringing Activity6

    9          F.       Evidence of Actual Harm from Defendant's Infringing Activity ...... 6

   10   III.   ARGUMENT ................................................................................................ 7

   11          A.       Legal Standard ................................................................................... 7

   12          B.       Plaintiffs Have a Strong Likelihood ofPrevailing on their Claims ... 7

   13                   1.       Violation of 15 U.S.C. § 1125(a) ............................................. 7

   14                            a.       SCDA Has Priority of Use in its Southern California

   15                                     Darts Association Trade Name and Marks ................... 8
   16                            b.       SCDA Has Established a Strong Likelihood of

   17                                     Consumer Confusion ................................................... 11

   18                            c.       Defendant Zaffina Is Personally Liable For The

   19                                     Infringing Acts ............................................................. 14

   20                            d.       Defendants' Reliance On Its Incorporation As A Basis

   21                                     For Its Infringing Conduct Is Without Merit.. ............. 14

   22                   2.       State-Law Claims ................................................................... 15

   23          C.       SCDA Will Suffer Irreparable Harm and Has No Adequate Remedy

   24                   at Law If the Court Does Not Issue an Injunction ........................... 16

   25          D.       The Balance of Hardships Tips Heavily In Favor of SCDA ........... 17
   26          E.       The Injunction Will Preserve the Status Quo .................................. 18
   27          F.      A Bond Should Not Be Required ..................................................... 18
   28   IV.    CONCLUSION .......................................................................................... 19
                                                              - 1-
                                        MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 3 of 24 Page ID #:47




    1                                     TABLE OF AUTHORITIES

    2   Federal Cases
    3   Accuride Int 'l, Inc. v. Accuride Corp.,
    4    871 F.2d 1531 (9th Cir. 1989) ............................................................................... 8.
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    6    616 F.2d 440 (9th Cir. 1980) ............................................................................... 11
    7   Am. Petrojina, Inc. v. Petrojina of California, Inc.,

    8    No. CV 74-3330, 189 U.S.P.Q. 67, 82,
         1975 WL 21190 (C.D. Cal. Dec. 3, 1975) aff'd,
    9
         596 F.2d 896 (9th Cir. 1979) ............................................................................... 15
   10
        Ball v. Am. Trial Lawyers Assn.,
   11
          14 Cal. App. 3d 289, 300-01,
   12
         92 Cal. Rptr. 228, 235 (Ct. App. 1971) ............................................................... 16
   13
        Brookfield Commc 'ns, Inc. v. West Coast Entm 't Corp.,
   14
          174 F.3d 1036 (9th Cir. 1999) ......................................................................... 8, 13
   15
        Chalk v. United States Dist. Ct.,
   16
         840F.2d 701 (9thCir.1988) ............................................................................... 18
   17
        Committee for Idaho's High Desert, Inc. v. Yost,
   18    92 F. 3d 814 (9th Cir. 1996) .............................................................................. 7, 9
   19   Entrepreneur Media, Inc . v . Smith,
   20    279 F.3d 1135 (9th Cir.2002) .............................................................................. 12
   21   Freecycle Network, Inc. v. Dey,
   22    505 F.3d 898 (9th Cir. 2007) ................................................................................. 7
   23   GoTo.com, Inc. v. Walt Disney Co.,
   24    202 F.3d 1199 (9th Cir. 2000) ....................................................................... 11, 18
   25   Halicki Films, LLC v. Sanderson Sales and Mktg.,
   26    547 F.3d 1213(9th Cir. 2008) ................................................................................ 8
   27   Lahoti v. VeriCheck, Inc.,
         586 F.3d 1190 (9th Cir. 2009) ............................................................................... 8
   28
                                                            - 11 -
                                       MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 4 of 24 Page ID #:48




    1   Mattel, Inc. v. Walking Mountain Prods.,
    2     353 F.3d 792 (9th Cir. 2003) ............................................................................... 11
    3   Minnesota State Archery Ass 'n I, Inc. v. Minnesota State Archery Ass 'n Inc.,

    4     66 U.S.P.Q.2d (BNA) 1348,
          2003 WL 1589868 (D. Minn. Mar. 20, 2003) ........................................... 9, 10, 14
    5
        Moltan Co. v. Eagle-Picher Indus., Inc.,
    6
          55 F.3d 1171 (6th Cir. 1995) ............................................................................... 19
    7
        N. Am. Aircoach Sys. v. N. Am. Aviation,
    8
          231 F.2d 205 (9th Cir. 1955) ............................................................................... 12
    9
        New W Corp. v. NYMCo. ofCal., Inc.,
   10
          595 F.2d 1194 (9th Cir. 1979) ......................................................................... 8, 15
   11
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         No. C 79-1716 SW, 215 U.S.P.Q. 466,
   13     1981 WL 48158, at *3 (N.D. Cal. Mar. 17, 1981) .............................................. 15
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   15    No. CV 96-3417 DDP (VAPx) 45 U.S.P.Q.2D 1400
   16     1997 WL 829339 at* 18 (C.D. Cal. 1997) .......................................................... 14
   17   Rearden LLC v. Rearden Commerce, Inc.,
   18     597 F. Supp. 2d 1006 (N.D. Cal. 2009) .............................................................. 13
   19   Rent-A-Center, Inc. v. Canyon Television & Appliance,
   20     944 F.2d 597 (9th Cir. 1991) ............................................................................... 17
   21   Smith v. Montara, 648 F.2d 602 (9th Cir. 1981) ............................................... 7, 14
   22   Steinway & Sons v. Robert Demars & Friends,

   23     10 U.S.P.Q. (BNA) 954,
          1981 U.S. Dist. LEXIS 15169 (C.D. Cal. Jan. 28, 1981) ................................... 17
   24
        Stephen W Boney, Inc. v. Boney Services, Inc.,
   25
          127 F.3d 821 (9th Cir. 1997) ................................................................................. 8
   26
        SunEarth, Inc. v. Sun Earth Solar Power Co., Ltd., No.
   27
          11-4991 CW, 2012 WL 368677 (N.D. Cal. Feb. 3, 2012) .................................. 13
   28
                                                             - 111 -
                                        MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 5 of 24 Page ID #:49




       1   Tanner Motor Livery, Ltd. v. Avis, Inc.,
    2        316 F.2d 804 (9th Cir. 1963) ............................................................................... 18

    3      Trans go, Inc. v. Ajac Transmission Parts Corp.,

    4
             768 F.2d at 1021 (9th Cir. 1985) ......................................................................... 14
           U S. Jaycees v. San Francisco Jr. Chamber of Commerce,
    5
             354 F. Supp. 61 (N.D. Cal. 1972) ......................................................................... 8
    6
           U S. Jaycees v. San Francisco Jr. Chamber of Commerce,
    7
             513 F.2d 1226 (9th Cir. 1975) ............................................................................... 8
    8
    9 State Statutes
    O CAL. Bus. & PROF. CODE § 17203 ......................................................................... 16
   1
           CAL. Bus. & PROF. CODE§§ 14411, 14415 ........................................................... 15
   11
   12      Federal Statutes
   13      Lanham Act, 15 U.S.C. § 1125(a) ........................................................................... 7
           Lanham Act, 15 U.S.C. §1116(a) ............................................................................ 7
   14
   15      Other Authorities
   16      1 J. MCCARTHY, TRADEMARKS AND UNFAIR COMPETITION§ 9:6 (4th ed.) ............ 8
   17      1 J. McCARTHY, TRADEMARKSANDUNFAIRCOMPETITION § 9:8 (4th ed.) .......... 15

   18      3 J. MCCARTHY, TRADEMARKS AND UNFAIR COMPETITION§ 25:24 (4th ed.) ....... 14

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   21
   22
   23
   24
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   27
   28
                                                                - iv-
                                           MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 6 of 24 Page ID #:50




     1                MEMORANDUM OF POINTS AND AUTHORITIES
    2    I.    INTRODUCTION
    3          Plaintiff Southern California Darts Association ("SCDA" or "Plaintiff')
    4    requests a preliminary injunction to prevent irreparable harm from the conduct
    5    giving rise to its claims for trademark infringement and unfair competition against
    6    Defendants Southern California Darts Association, Inc. ("Zaffina Co.") and Dino
    7    M. Zaffina ("Zaffina") (collectively "Defendants"). Defendants' conduct has led
    8    to actual confusion in the marketplace and should be immediately enjoined.
    9          SCDA has operated as an unincorporated association of competitive darts
   10    enthusiasts since the early 1960s. It is the founding member of the American
   11    Darts Organization ("ADO"), which oversees competitive darts events throughout
   12    the United States. Since inception, SCDA has organized hundreds of darts
   13    tournaments and darts-related events. Its events have drawn darts enthusiasts
   14    from around the world and garnered international media attention. One of
   15    SCDA's main functions is to organize and run darts leagues for its members
   16    ("Association Members") in Southern California. SCDA has longstanding
   17    relationships with pubs, restaurants, and social clubs throughout region (the "Host
   18    Pubs") who host league events and contribute sponsorship fees.
   19          For nearly fifty (50) years, SCDA has used the trade name "SOUTHERN
   20    CALIFORNIA DARTS ASSOCIATION" to identify the group and to inform
   21    members and other darts enthusiasts of affiliated events. It has also used the
   22    marks "SoCal Darts" and "SCDA," as well as various logos featuring a dart board
   23    with "Southern California Dart Association" around the perimeter (collectively,
   24    the "SCDA Marks").
   25          In or about July 2010, Defendant Zaffina, at the time a member ofSCDA,
   26    became upset about SCDA's failure to include his middle ini.tial in the weekly
   27    league scoring reports. A dispute with the SCDA Board ensued, and Zaffina was
   28    expelled from the association for unsportsmanlike conduct. Unbeknownst to the
                                                - 1-
                                 MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 7 of 24 Page ID #:51




        1       Board, in early 2011, after his expulsion, Zaffina registered a corporation with the
     2          California Secretary of State under the name of a defunct entity, Southern
    3           California Darts Association, Inc. 1
    4                 From that point forward, Defendants co-opted the names "Southern
    5           California Darts Association," "SCDA," and "SoCal Darts," and indicated that
    6       they intended to start a competing darts league in Southern California. They also
    7       claimed to have obtained exclusive rights to the aforementioned names, and began
    8       threatening Host Pubs and Association Members if they participated in any league
    9       or other events under those names. Zaffina Co. then sued fifty-nine (59)
   10       Association Members and numerous Host Pubs in state court claiming that they
   11       committed "trade libel" by participating in SCDA darts league events.
   12                 All factors lead to the conclusion that the requested injunction should issue:
   13                 •     The SCDA Marks have developed secondary meaning through
   14       roughly fifty (50) years of continuous use throughout the United States, are
   15       protectable, and are being infringed by Defendants' use of identical names and
   16       marks. As a result, Plaintiff is suffering immediate and irreparable harm.
   17                       Evidence of actual confusion exists among darts players and Host
   18       Pubs who mistakenly believe Defendants are associated with Plaintiff.
   19                 •     The balance of hardships weighs in favor of Plaintiff. Defendants are

   20       free to develop a darts league using any name that does not mislead the public or

   21       trade on the goodwill Plaintiffhas built over fifty (50) years in the SCDA Marks.
            Moreover, Defendants have not actually started a darts league.
   22
                     Therefore, Plaintiff respectfully requests that this Court issue a preliminary
   23
            injunction enjoining Defendants from using the SCDA Marks, forcing them to
   24
            disable the internet domain names associated with their illicit use of the SCDA
   25
            Marks, and requiring them to inform Host Pubs of the injunction.
   26
   27
            1
              For a period in the 1960's and 1970's, several members ofSCDA formed a
            separate, nonprofit corporation, Southern California Darts Association, Inc.
   28       However, this entity apparently went inactive in 1977.
                                                       -2-
                                       MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 8 of 24 Page ID #:52




    1   II.      STATEMENT OF THE FACTS
    2            A.         Southern California Darts Association
    3            SCDA is an unincorporated association of competitive darts enthusiasts,
    4   operating continuously in the Southern California area since its inception in the

    5   early 1960's. (Declaration ofL. David Irete ["Irete Decl."]        at~   2.) SCDA's

    6   purpose is to promote competitive darts and to coordinate league play, both
        locally and at the national and international levels. (ld.   at~   3; Ex. A.) SCDA's
    7
        membership has ranged in size from a few dozen players at the club's inception in
    8
        the 1960s to a high of nearly 5,000 members in the early 1980s. (ld.         at~   6.)
    9
        Currently, SCDA has around one hundred (1 00) active members. (Id.            at~   7.)
   10
        SCDA conducts regular meetings. (Id.      at~   8; Ex. B). SCDA is a member in good
   11
        standing with the ADO, the governing body of organized darts in the U.S., which
   12
        considers SCDA to be its founding member. (Jd.at ~ 9.)
   13
                 Since at least 1963, SCDA has made continual use of the name Southern
   14
        California Darts Association, the nickname SoCal Darts, and the acronym SCDA.
   15
        (Id.   at~   10.) SCDA advertises its services on a website, www.socaldarts.com,
   16
        whereby it informs members of current and future events and links to another
   17
        website where it posts the scoring from the league events. (Id.      at~   12; Ex. D.)
   18
        SCDA also communicates with its members through a Facebook page. (Id.                at~
   19
        13.) In the past, SCDA issued a newsletter, "Darts & Dashes." (Id.          at~   13; Ex. E,
   20
        F.) These newsletters reflected SCDA's participation in darts tournaments against
   21
        teams from all over the world.
   22
                SCDA has longstanding relationships with the Host Pubs located
   23
        throughout Southern California. (Id.    at~   15.) For many years, until the events
  24
        giving rise to this Action, these Host Pubs hosted SCDA league events and
  25
        contributed annual sponsorship fees that allowed SCDA to operate. (Id.)
  26
                In addition to league play, SCDA participates in and organizes regional and
  27
        national tournaments, and advertises these tournaments using its SCDA Marks,
  28
                                                  -3-
                                   MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 9 of 24 Page ID #:53




     1   including a logo of a dartboard with the words "Southern California Darts
     2   Association" around the border. (Id.       at~   16; Exs. G, H, I, J, K, L, M.) SCDA has
     3   also sent players to international tournaments. (Id.      at~   17; Ex. N.)
     4            From 1970 to 1999, SCDA organized the North American Open Darts
     5   Tournament ("NAODT"), a competitive tournament entered by darts leagues from
    6    around the world. (Jd.      at~   18; Exs. 0, P, Q.) On the basis of its goodwill, SCDA
     7   obtained sponsorships for the NAODT from large international companies such as
    8    National Car Rental, Watneys of London Beer, Stroh's Beer, and Unicorn Darts.
    9    (Jd.) SCDA plans to revive the NAODT in the near future. (Id. at~ 20.)
   10             SCDA has also been acknowledged in publications by other darts
   11    organizations and in a national sports magazine. (Declaration ofNaomi Straus
   12    ["Straus Decl."]    at~~   3,4,5, Exs. A, B, C, D, E.)
   13            In 1966, several members, with the permission of SCDA, formed a
   14    separate, unaffiliated corporation under the name "Southern California Darts
   15    Association, Inc." to also help promote darts and to run a darts store. (Irete Decl.,
   16    ~   21, Ex. R.) This unaffiliated corporation allowed its registration with the
   17    California Secretary of State to lapse in 1977. However, at all times pertinent
   18    thereto, SCDA continued to operate as it always had.
   19            B.          Removal of Defendant Zaffina From SCDA
   20            Defendant Zaffina is a former member ofSCDA. (Irete Decl.             at~   22.) In
   21    July and August of2010, Zaffina became upset about how scores were computed
   22    and the omission of his middle initial on SCDA score sheets. (Id.         at~   23.) This
   23    developed into a heated disagreement between him and the SCDA Board. (Id.)

   24    As a result of this confrontation, the Board revoked Zaffina' s membership by a
         vote in in accordance with SCDA bylaws, on the basis of unsportsmanlike
   25
         behavior. (Id. at ,-r 24.) Zaffina ceased to be a member of SCDA as of August 23,
   26
         2010. (Id.   at~   25.) The circumstances surrounding Zaffina's removal from
   27
   28
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                                     MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 10 of 24 Page ID #:54




     1   SCDA and Zaffina's subsequent retaliatory actions have received significant press
    2    coverage. 2
    3            c.         Formation of Zaffina Co.

    4            In early 2011, Zaffina registered Zaffina Co. with the California Secretary

    5    of State under the name "Southern California Darts Association, Inc." (Straus
         Decl.   at~   8; Ex. H.) SCDA's current board president, L. David !rete, was
    6
         unaware that Zaffina had taken such actions until the fall of 2011. (!rete DecI. at ~
    7
         26.) SCDA is informed and believes that Zaffina Co. is owned, operated,
    8
         managed, and run by Defendant Zaffina. (Straus Decl. at~ 8; Ex. H.)
    9
                 Before forming Zaffina Co., Defendant Zaffina registered the domain name
   10
         www.southerncaliforniadartsassociation.com. (Straus Decl. at~ 9; Ex. I.)
   11
         Defendants then put up a website on that URL announcing that "Southern
   12
         California Darts Association, Inc. is a dart player's dream, providing the best dart
   13    leagues and tournaments in Southern California." (Straus Decl. at~ 10; Ex. J.) It
   14    also notes that "Southern California Darts Association, Inc. and its four
   15    subsidiaries, SCDA, So Cal Darts Association, So Cal Darts, and SCDA Products
   16    will give players and fans an excellent darting experience" and that it will be
   17    starting a darts league in 2012. (Jd.)
   18            D.         Zaffina Co. Press Releases and State Court Action
   19            In the fall of 2011, Defendants began contacting Host Pub owners and
   20    Association Members, stating that Zaffina Co. owns the exclusive right to use the
   21    name "Southern California Darts Association," and threatening legal action
   22    against anyone using that name without Zaffina Co.'s permission, including Host
   23    Pubs and Association Members. (!rete Decl. at~ 27.) Many of Defendants'
   24    communications have come in the form of "press releases," which are printed on
   25    letterhead bearing the name "Southern California Darts Association, Inc." and the
   26
   27    2
           See Dastardly Deeds In Darts. Straus Decl. at~ 7; Ex. G; also available at
         http://www.laweekly. com/20 12-02-02/news/dino-m-zaffina-southern-california-
   28    darts-association/.
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                                    MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 11 of 24 Page ID #:55




     1 dartboard logo used on the website. (Jd. at ,-r 28, Exh. S.) Defendants have issued
     2   eighteen ( 18) press releases to date, maintaining that Zaffina Co. has exclusive
     3   rights to the name "Southern California Darts Association," and touting legal
     4   actions Zaffina Co. has taken or plans to take against its imagined infringers. (!d.)
     5          Thereafter, Zaffina Co. brought a state court action naming fifty-nine (59)
     6   Association Members and eight (8) Host Pubs for playing in league events or
     7   hosting those events under the banner - "Southern California Darts Association."
     8   (Los Angeles Superior Court, Case No. EC 056642) ("State Court Action"). It did
     9   not bring suit against SCDA in the State Court Action. The matter has been
    10   transferred to Complex Court and is awaiting the initial status conference.
    11          E.        Evidence of Confusion from Defendants' Infringing Activity
    12         Defendants' representations of ownership of the name "Southern California
    13   Darts Association," and their promotion of a yet-to-be established darts league
    14   under that name have engendered confusion in the darts community. For
    15   example, The Cat and Fiddle Restaurant and Pub, a longtime Host Pub, contacted
   16    am SCDA member on September 18, 2011, asking "what is going on?" regarding
   17    letters it had received "about SCDA name being misused and misrepresented."
   18    (Declaration ofMatthew Canale at ,-r 3, Ex. A.) Organizations across the U.S.,
   19    Canada, and the U.K. have also contacted SCDA and ADO asking whether there
   20    have been changes to SCDA. (Jd. at ,-r 33; Ex. T.) Creating further confusion,
   21    Zaffina has been disseminating business cards stating he is President and CEO of
   22    Southern California Darts Association. (Jd. at ,-r 34, Ex. T.)
   23          F.        Evidence of Actual Harm from Defendant's Infringing
   24                    Activity
   25          As a result of the confusion caused by Defendants, many of the Host Pubs,
   26    including the Cat and Fiddle, have refused to allow SCDA league play in their
   27    establishments. (Jd. at ,-r 35.) Host Pubs have also stopped paying SCDA

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                                 MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 12 of 24 Page ID #:56




     1   sponsorship fees, and in some cases, member dues. (Id.) This has forced SCDA
    2    to cancel its fall 2011 season. (!d.)
    3    III.   ARGUMENT

    4           A.        Legal Standard

    5           Federal Rule of Civil Procedure 65(b) and the Lanham Act, 15 U.S.C.
         § 1116(a), provide the Court with the "power to grant injunctions, according to the
    6
         principles of equity and upon such terms as the Court may deem reasonable ... to
    7
         prevent a violation under Section 1125(a) of this title." A court may issue an
    8
         interlocutory injunction if plaintiff demonstrates "'either: (1) a likelihood of
    9
         success on the merits and the possibility of irreparable injury; or (2) that serious
   10
         questions going to the merits were raised and the balance of hardships tips sharply
   11
         in its favor."' Clear Channel Outdoor Inc. v. City of Los Angeles, 340 F.3d 810;
   12
         813 (9th Cir. 2003) (citations omitted).
   13
                B.        Plaintiffs Have a Strong Likelihood of Prevailing on their
   14
                          Claims
   15
                          1. Violation of 15 USC.§ 1125(a)
   16
                "Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), forbids the use of
   17    false designations of origin and false descriptions or representations in the
   18    advertising and sale of goods and services." Smith v. Montara, 648 F .2d 602, 603
   19    (9th Cir. 1981). To prevail on this claim, SCDA must show that Defendants: "(1)
   20    use[ d] in commerce ... any word, false designation of origin, false or misleading
   21    description, or representation of fact, which (2) is likely to cause confusion or
   22    misrepresents the characteristics ofhis or another's goods or services." Freecycle
   23    Network, Inc. v. Oey, 505 F.3d 898, 902 (9th Cir. 2007).
   24           An unincorporated association is entitled to protection of its trade name
   25    under the Lanham Act against confusing uses. See Committee for Idaho's High
   26    Desert, Inc. v. Yost, 92 F. 3d 814, 818 (9th Cir. 1996). "The fact that an
         organization is non-profit and sells no goods or services does not take it out of the
   27
   28
                                                    -7-
                                   MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 13 of 24 Page ID #:57




     1   protection of the law of trademarks, service marks and unfair competition." 1 J.
     2   McCARTHY, TRADEMARKS AND UNFAIR COMPETITION§ 9:6 (4th ed.).
     3          A party asserting a claim under Section 43(a) of the Lanham Act need not
     4   have a current trademark registration. Rather, the section broadly confers

     5   protection against infringement of unregistered marks as well as registered marks.

     6   Broolifield Commc 'ns, Inc. v. West Coast Entm 't Corp., 174 F.3d 1036, 1046 n.6
         (9th Cir. 1999). Actions for trade name infringement can likewise be brought
     7
         under Section 43(a). Accuride Int 'l, Inc. v. Accuride Corp., 871 F.2d 1531, 1534
     8
         (9th Cir. 1989). Whether called "trade name or trademark infringement ... unfair
     9
         competition or false designation of origin, the test is identical: is there a
    10
         'likelihood of confusion?"' New W Corp. v . NYM Co. of Cal., Inc., 595 F.2d
    11
         1194, 1201 (9th Cir. 1979).
    12
                             a. SCDA Has Priority of Use in its Southern California Darts
    13
                                Association Trade Name and Marks.
    14
                Trade names and unregistered marks are entitled to protection against
    15   confusing or misleading uses once they have been used in commerce. 15 U.S.C.
    16   § 1125(a); Halicki Films, LLC v. Sanderson Sales and Mktg., 547 F.3d 1213,
    17   1225-26 (9th Cir. 2008). "As with the right to the trade name, the right to control
    18   use of the trademark depends on priority of use." Stephen W Boney, Inc. v. Boney
    19   Services, Inc., 127 F.3d 821, 829 (9th Cir. 1997). For trade names and
   20    unregistered marks, a plaintiff must also establish that its mark is either inherently
   21    distinctive, or has acquired distinctiveness through secondary meaning. See
   22    Lahoti v. VeriCheck, Inc., 586 F.3d 1190, 1197 (9th Cir. 2009). "The doctrine that
   23    geographic or descriptive terms can acquire a secondary meaning is well
   24    established .... When, by association with a business, a trade name has acquired a

   25    special significance as the name thereof, it will be protected by the courts even
         though it may have been a descriptive term in its original meaning." U S. Jaycees
   26
         v. San Francisco Jr. Chamber of Commerce, 354 F. Supp. 61, 75 (N.D. Cal.
   27
         1972), affd, 513 F.2d 1226 (9th Cir. 1975) (internal citations and quotations
   28
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                                  MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 14 of 24 Page ID #:58




     1   omitted).
     2          In Committee for Idaho's High Desert, Inc. v. Yost (hereinafter High Desert),

     3   the plaintiff was a non-profit environmental organization that had operated

     4   continuously under the name "Committee for Idaho's High Desert" since at least

     5   1980. High Desert, 92 F. 3d 814, 819-20 (9th Cir. 1996). In 1993, a group of
         individuals discovered that the plaintiff had allowed its corporate standing to
     6
         lapse, and formed a new corporation named Committee for Idaho's High Desert,
     7
         Inc. !d. at 817. After incorporation, one of the individual defendants represented
     8
         that he was president of the Committee, and testified at a public hearing in support
     9
         of a development proposal he knew was "diametrically and publically opposed by
    10
         [plaintiff]." Id. at 818. In light of the plaintiff's continuous and exclusive use of
    11
         the trade name and the association of this name with plaintiff's services among the
   12
         "relevant 'consumer' group,"' i.e. "members and potential members, public
   13
         officials ... and other members of the interested public," the Ninth Circuit
   14    affirmed the district court's findings that the plaintiffhad established ownership,
   15    first use, and secondary meaning. !d. at 820, 822.
   16          In facts nearly identical to the case at bar, a U.S. District Court in
   17    Minnesota issued a preliminary injunction against the defendant infringers who
   18    had co-opted the name of a non-profit, unincorporated association promoting
   19    archery. Minnesota State Archery Ass 'n I, Inc. v. Minnesota State Archery Ass 'n
   20    Inc., 66 U.S.P.Q.2d (BNA) 1348,2003 WL 1589868 (D. Minn. Mar. 20, 2003).
   21    The Court noted that the non-profit plaintiff was the "largest and oldest archery

   22    organization in Minnesota" and had been using the marks "MSAA" and

   23    "Minnesota State Archery Association" in connection with services pertaining to
         organized archery since its founding in 1938. Id. In 2002, the defendant, a
   24
         disgruntled member of the organization, discovered that the plaintiff had failed to
   25
         renew its non-profit corporation registration. The defendant then registered a for-
   26
         profit corporation using the name "Minnesota State Archery Association, Inc."
   27
         and announced that he intended to use the name to form a new archery
   28
                                                 -9-
                                 MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 15 of 24 Page ID #:59




     1 organization, and offered to license or sell the name "Minnesota State Archery
     2 Association" to the plaintiff for a fee. !d. at *1-2. The court found that the
     3   plaintiff had used the marks for years and had "obtained a measure of both
         national and international name recognition and good will in connection with its
     4
         activities." !d. at *5-6. This created a significant likelihood of success on the
     5
         merits of the plaintiffs Section 43(a) claim, and the court granted its request for a
     6
         preliminary injunction. !d. at *7-8.
     7
               More compelling than the facts in High Desert and Minnesota State
     8
         Archery Ass 'n, here, SCDA has used the name Southern California Darts
     9
         Association and associated marks for nearly fifty (50) years and developed a
    10
         worldwide reputation. (Irete Decl. at~ 10.) SCDA is one of the oldest darts
    11
         organizations in California and in the United States. (Straus Decl. at~ 5, Ex. E.)
    12   It is recognized by darts organizations across the country, and the name "Southern
    13   California Darts Association" is uniquely associated with SCDA in the minds of
    14   darts consumers. The recognition SCDA has received in national sports
    15   magazines and on darts websites demonstrates the goodwill that it has built up in
    16   the name over the years. (Straus Decl.   ifif 3-6 Exs. A, B, C, D, E, F.) Moreover,
    17   the use ofthe name has been exclusive. For example, in 1981, the SCDA board
    18   sent a letter to the Little People International Billy Barty Foundation, admonishing
    19   it for using the SCDA initials on a poster advertising a darts tournament without

   20    obtaining SCDA's permission. (Irete Decl. ~ 11, Ex. C.) SCDA has and

   21    continues to advertise its services using the Trade Name and Marks on fliers,

   22 newsletters, tournament programs, and its website. (Irete Decl. ~ 12-14, 16, Exs.
   23    D, E, F, G, H, I, J, K, L, M, N.)
               In addition to the above facts establishing the strength of SCDA's Marks in
   24
         the darts community, this Court may also look to Defendants' intent in selecting
   25
         their marks as evidence of the existence of secondary meaning. Defendants
   26
         intentionally adopted marks identical to the ones used by SCDA precisely for the
   27
         stated purpose of starting a competing darts league. (Irete Decl., ~~ 28, 29, Ex. S;
   28
                                                  - 10-
                                  MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 16 of 24 Page ID #:60




     1   Straus Decl., ~ 10, Exh. J.) Similar to the facts in High Desert, Defendants'
     2   intentional act in choosing the same name is compelling evidence of the existence
     3   of a secondary meaning, as it shows they recognized the valuable goodwill in
     4   these marks. High Desert, 92 F. 3d at 818.
                             b. SCDA Has Established a Strong Likelihood of Consumer
     5
     6                           Confusion.
               Based on its protectable interest in its name and marks, SCDA can readily
     7
         establish a Section 43(a) Lanham Act claim for unfair competition. There is no
     8
         question that Defendants are using SCDA's Marks in commerce and that a
     9
         likelihood of consumer confusion exists. Such confusion exists when
    10
         "'consumers viewing the mark would probably assume that the product or service
    11
         it represents is associated with the source of a product or service identified by a
    12
         similar mark."' Hollywood Athletic Club, 938 F.Supp. 612 at 614 (quoting Alpha
    13
         Indust., Inc. v. Alpha Steel Tube & Shapes, Inc., 616 F.2d 440, 443 (9th Cir.
    14
         1980)).
    15         To determine whether there is a likelihood of confusion, courts in the Ninth
    16   Circuit address the following Sleekcraft factors: (1) the similarity of the marks; (2)
    17   the relatedness of the two companies' goods; (3) the marketing channels used; (4)
    18   the strength of the plaintiff's mark; ( 5) the defendant's intent in selecting its mark;
    19   ( 6) evidence of actual confusion; (7) the likelihood of expansion into other
    20   markets; and (8) the degree of care likely to be exercised by the purchaser.
    21   GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1205 (9th Cir. 2000) (citing
    22   AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 348 (9th Cir. 1979), abrogated in
    23   part on other grounds by Mattel, Inc. v. Walking Mountain Prods., 353 F.3d 792
    24   (9th Cir. 2003)).
    25         The first three factors, i.e. the similarity of the marks, the relatedness of the
         goods or services, and the use of common marketing channels, constitute "the
    26
         controlling troika in the Sleekcraft analysis." GoTo.com v. Disney, 202 F.3d 1199
    27
         at 1205. In this case, (1) the SCDA Marks used by Defendants are identical in
    28
                                                  - 11 -
                                  MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 17 of 24 Page ID #:61




     1       sight, sound, and meaning to Plaintiff's; (2) SCDA's Marks and Defendants'
    2        name and marks are both used in connection with services related to competitive
    3        darts in the Southern California area; and (3) Defendants are marketing their
    4        anticipated league through the same channels as SCDA (e.g. through a website,

    5        letters, and verbal communications with host pubs). (Irete Decl., ~~ 27, 28, 34;
             Exs. S, U; Straus Decl. ,-r 10, Exh. J.) Furthermore, Defendants used a logo that is
    6
             virtually identical to SCDA's logo. (Irete Decl. ,-r 28, Exh. S.) "The greater the
    7
             similarity between the two marks at issue, the greater the likelihood of confusion."
    8
             Entrepreneur Media, Inc. v. Smith, 279 F.3d 1135, 1144 (9th Cir.2002). Here, the
    9
             name and marks used are nearly identical.
   10
             SCDAMark                                        Defendants' Infringing Mark
   11    I
   12
   13
   14
   15
   16
   17
   18
   19
                   With regard to the fourth Sleekcraft factor, the strength of the plaintiff's
   20
             mark, for the reasons set forth above, SCDA has developed secondary meaning in
   21
             the trade name "Southern California Darts Association" and the other SCDA
   22
             Marks, and they are exceptionally strong in the darts community. Once a mark
   23
             obtains secondary meaning, it "will be afforded as complete protection as if it
   24        were a 'strong mark' at the inception." N. Am. Aircoach Sys. v. N Am. Aviation,
   25        231 F.2d 205,210 (9th Cir. 1955).
   26              Similarly, the fifth and sixth Sleekcraft factors, the defendant's intent in
   27        selecting its mark, and evidence of actual confusion, weighs heavily in SCDA's
   28        favor. Here, as a former member of SCDA, there is no question that Zaffina chose
                                                     - 12-
                                     MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 18 of 24 Page ID #:62




     1 to incorporate Zaffina Co. to capitalize on SCDA's name. Moreover, Defendants
     2   have used and continue to represent that they have the right to control the use of
     3       SCDA's Marks, thereby engendering confusion. (Irete Decl., ~~ 27-35.) At least
     4   one Host Pub contacted SCDA, questioning whether Defendants were a part of or
         affiliated with SCDA. (Canale Decl.        ~   3, Exh. A.) Organizations across the U.S.,
     5
     6   Canada, and the U.K. have contacted SCDA and ADO asking whether there have
         been changes to SCDA. (Irete Decl., ~ 33.) 3 Moreover, Zaffina has disseminated
     7
         business cards stating he is President and CEO of Southern California Darts
     8
         Association, thereby creating confusion about who is running the organization,
     9
         and whether Zaffina has authority to act on behalf of SCDA. (!d.         at~   34, Exh. U.)
    10
                    As for the remaining factors, "[t]he likelihood of expansion in product
    11
         lines factor" is "relatively unimportant where two companies [such as here]
    12
         already compete" in common marketing channels. Broolfzeld Commn 's, Inc. v.
    13
         West Coast Entm 't Corp., 174 F.3d 1036, 1044 (9th Cir. 1999). Moreover,
    14   Defendants have indicated their intention to organize a competitive darts league
   15    this year. (Straus Decl. ~ 10, Exh. J.).
   16             Although courts should not apply the foregoing factors "mechanically," the
   17    evidence underlying the three "most important" factors which should be
   18    "examin[ed] first" (i.e. [ 1] the similarity of the marks, [2] the relatedness of the
   19    goods or services, and [3] the use of common marketing channels) weighs heavily
   20    in favor of finding a high likelihood of confusion among consumers concerning
   21    similar services marked identically in the parties' common market. Broolfzeld v.
   22    West Coast, 174 F.3d at 1055 n.16. Furthermore, when considered in light ofthe

   23    3
          Even if SCDA did not have such evidence of actual confusion, the importance of
         the actual confusion factor "is diminished at the preliminary injunction stage of
   24
         the proceedings" because "actual confusion is hard to prove, so the absence of
   25    such evidence is generally not noteworthy." See SunEarth, Inc. v. Sun Earth Solar
         Power Co., Ltd., No. 11-4991 CW, 2012 WL 368677, at *11 (N.D. Cal. Feb. 3,
   26
         2012) (quoting Rearden LLC v. Rearden Commerce, Inc., 597 F. Supp. 2d 1006,
   27    1023 (N.D. Cal. 2009)).
   28
                                                    - 13-
                                   MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 19 of 24 Page ID #:63




    1   evidence of Defendant's malicious intent, the remaining factors weigh heavily in
    2   SCDA's favor, and none can be said to weigh decisively against it.
    3         Defendants' conduct therefore constitutes a violation of Section 43(a) of the
    4   Lanham Act because they are offering services under the SCDA's Marks without
        its consent, thus creating a likelihood of confusion, deception, or mistake that
    5
        Defendants' services are provided with SCDA's approval, or that the parties are
    6
        otherwise affiliated or related. See Smith, 648 F .2d at 604; High Desert, 92 F .3d
    7
        at 818; Minnesota State Archery Association L 66 U.S.P.Q.2d at *6.
    8
                           c. Defendant Zaffina Is Personally Liable For The Infringing
    9
                               Acts.
   10
              Defendant Zaffina is personally liable for intentionally selecting SCDA's
   11
        Marks when forming Zaffina Co., and for using SCDA's Marks in connection
   12
        with competitive darts, which is likely to confuse the public. See High Desert, 92
   13
        F.3d at 823. Moreover, as President and CEO ofZaffina Co., Defendant Zaffina
   14
        is personally liable for any trademark infringement that he directed or authorized.
   15
        See Transgo, Inc. v. Ajac Transmission Parts Corp., 768 F.2d at 1021 (9th Cir.
   16
        1985) (affirming personal liability of a corporation's president and sole
   17
        stockholder for acts of unfair competition that he directed and authorized);
   18
        Playboy Enters., Inc. v. Chen, No. CV 96-3417 DDP (VAPx) 45 U.S.P.Q.2D
   19
        1400 1997 WL 829339 at *18 (C.D. Cal. 1997) (liability of sole shareholder,
   20
        officer, and director of a corporation "in no way depends on piercing the corporate
   21
        veil or alter ego. It is grounded rather on the Lanham Act's reference to 'any
   22
        person' who violates elements of the statute.") (citing 3 J. McCARTHY,
   23
        TRADEMARKS AND UNFAIR COMPETITION § 25:24 (4th ed.))
   24
                           d. Defendants' Reliance On Its Incorporation As A Basis For
   25
                               Its Infringing Conduct Is Without Merit.
   26
   27
   28
                                                - 14-
                                MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 20 of 24 Page ID #:64




     1          The only apparent justification that Defendants have proffered for their
     2   flagrant appropriation of SCDA's Marks is their theory that registering a name
     3   with the California Secretary of State conferred upon them the unmitigated right

     4   to use the registered name. Defendants' position is without merit. "Since rights to

     5   a trade name, like a trademark, arise from prior usage, the fact that a junior user
         obtained a fictitious name certificate or has a corporate charter for his name is no
     6
         defense to an action for unfair competition or trade name infringement brought by
     7
         the owner of a prior conflicting trade name." Am . Petrofina, Inc. v. Petrofina of
     8
         California, Inc., No. CV 74-3330, 189 U.S.P.Q. 67, 82, 1975 WL 21190 (C.D.
    9
         Cal. Dec. 3, 1975) aff'd, 596 F.2d 896 (9th Cir. 1979). In California, filing of
   10
         articles of incorporation or fictitious business names establishes only a rebuttable
   11
         presumption that the registrant is entitled to use its name. See CAL Bus. & PROF.
   12
         CODE § § 14411, 14415. This presumption may be rebutted by proof of Plaintiff's
   13
         common law rights to the name. Pipers v. Holiday Inns, Inc., No. C 79-1716 SW,
   14    215 U.S.P.Q. 466, 1981 WL 48158, at *3 (N.D. Cal. Mar. 17, 1981) aff'd, 685
   15    F.2d 445 (9th Cir. 1982); see also 1 J. McCARTHY, TRADEMARKS AND UNFAIR
   16    COMPETITION§ 9:8 (4th ed.) ("Since rights to a corporate name, like a trademark,
   17    arise from prior usage, the fact that a junior user has a corporate charter for his
   18    name is no defense").
   19          Because SCDA has established rights to its trade name and other marks
   20    through fifty years of continual use, Defendants' claim that it can usurp those
   21    rights simply by registering a similar name with the California Secretary of State
   22    is without merit.

   23                 2.     State-Law Claims
               The conduct described above - federal trademark infringement and federal
   24
         unfair competition - constitutes violations of California Business & Professions
   25
         Code§ 17200 as well as common law unfair competition under California law.
   26
         New West Corp. v. NYM Co. of Cal., Inc., 595 F.2d 1194, 1201 (9th Cir. 1979).
   27
   28
                                                 - 15 -
                                  MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 21 of 24 Page ID #:65




    1          SCDA's state law claims similarly provide for injunctive relief. See, e.g.,
    2   CAL. Bus. & PROF. CODE§ 17203 ("Any person who engages, has engaged, or
    3   proposes to engage in unfair competition may be enjoined in any court of

    4   competent jurisdiction."). "In California a non-profit organization may maintain a
        suit for 'unfair competition' to protect its tradename." Ball v. Am. Trial Lawyers
    5
        Assn., 14 Cal. App. 3d 289, 300-01, 92 Cal. Rptr. 228, 235 (Ct. App. 1971).
    6
              The analysis for SCDA's federal and state law causes of action focuses on
    7
        the same central issue: likelihood of confusion. "As a general matter, trademark
    8
        claims under California law are 'substantially congruent' with federal claims and
    9
        thus lend themselves to the same analysis." Grupo Gigante SA De CV v. Dallo &
   10
        Co., Inc., 391 F.3d 1088, 1100 (9th Cir. 2004) (citation omitted); Accuride Intern.,
   11
        Inc. v. Accuride Corp., 871 F.2d 1531, 1538 (9th Cir. 1989) ("[Plaintiffs] causes
   12   of action for statutory unfair competition under Cal. Bus. & Prof. Code § 17200
   13   and for common law unfair competition are similarly dependent upon a showing
   14   of likelihood of confusion."). The same arguments, evidence, and authorities
   15   relied upon above are equally applicable to SCDA's state law claims.
   16          C.        SCDA Will Suffer Irreparable Harm and Has No Adequate
   17                    Remedy at Law If the Court Does Not Issue an Injunction
   18         The preliminary injunction standard further requires SCDA to show it is
   19   "likely to suffer irreparable harm in the absence of preliminary relief, that the
   20   balance of equities tips in [its] favor, and that an injunction is in the public
   21   interest." Winter v. Natural Res. Def Council, Inc., 555 U.S. 7, 20, 129 S. Ct.
   22   365, 374, 172 L. Ed. 2d 249 (2008).
   23         The likelihood of "irreparable injury may be presumed from a showing of
   24   likelihood of success on the merits." Marlyn Nutraceuticals, Inc. v. Mucos
        Pharma GmbH & Co., 571 F.3d 873, 877 (9th Cir. 2009) (quoting El Pollo Loco,
   25
        Inc. v. Hashim, 316 F.3d 1032, 1038 (9th Cir. 2003). More specifically, "once the
   26
        plaintiff establishes a likelihood of confusion, it is ordinarily presumed that the
   27
   28
                                                 - 16-
                                 MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 22 of 24 Page ID #:66




     1 plaintiff will suffer irreparable harm." Vision Sports, Inc. v. Melville Corp., 888
     2   F.2d 609, 612 n.3 (9th Cir. 1989).
     3         In this case, SCDA has established a high likelihood of confusion on all of
         its claims, and this, in itself, should satisfY the requirement for irreparable harm.
     4
         But even without the benefit of such a presumption, SCDA can affirmatively
     5
         establish its risk of suffering immediate, on-going, and irreparable harm.
     6
               First, many Host Pubs have already revoked their sponsorships and asked
     7
         Association Members not to play under the SCDA trade name, on the basis of
     8
         Defendants' representations that Zaffina Co. "owns" the name. (Irete Decl., ~~
     9
         32.) This has stymied Plaintiffs main purpose, which is to organize competitive
    10
         darts play. Moreover, SCDA has lost and continues to lose the monetary benefit
    11
         of the sponsorship fees, and, in some cases, member dues paid by Host Pubs. (Id.
    12   at~ 35.) As a result, SCDA had to cancel the fall2012 league. (Id.)
    13         In addition, SCDA has spent decades developing the goodwill and
    14   reputation of its darts services. (Irete Decl., ~~ 2-5.) SCDA suffers irreparable
    15   harm because the value of its reputation is diminished as a result ofDefendants'
    16   conduct. Defendants are also interfering with SCDA' s ability to control the
    17   reputation ofSCDA's trade name as well as the public perception ofSCDA's
    18   services. (Irete Decl., ~ 36.) IfDefendants are left unchecked, SCDA will
    19   encounter great difficulty restoring and maintaining its goodwill and reputation
    20   with the public-which, by its very nature, is an irreparable injury. Steinway &
    21   Sons v. Robert Demars & Friends, 10 U.S.P.Q. (BNA) 954, 1981 U.S. Dist.
    22   LEXIS 15169, *20-21 (C.D. Cal. Jan. 28, 1981); see also Rent-A-Center, Inc. v.
         Canyon Television & Appliance, 944 F.2d 597, 603 (9th Cir. 1991) ("[I]ntangible
    23
         injuries, such as damage to ... goodwill, quality as irreparable harm").
    24
               D.         The Balance of Hardships Tips Heavily In Favor of SCDA
    25
               Traditional principles of equity also involve an analysis of the relative
    26
         balance of hardships between SCDA and Defendants. On the one hand, Plaintiff
    27
    28
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                                  MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 23 of 24 Page ID #:67




     1   has shown both (1) its investment in establishing reputation and goodwill among
     2 the darts community in the United States and abroad, as well as (2) actual
     3   confusion caused by Defendants' infringing activities and threat of ongoing

     4   consumer confusion. For these reasons, allowing Defendants to market similar

     5   services through the use of marks that are identical to SCDA's established trade
         name and SCDA marks would impose a significant hardship.
     6
                On the other hand, issuing a preliminary injunction would only preclude
     7
         Defendants from marketing or advertising their services as "Southern California
     8
         Darts Association" and the related trade names used by SCDA. However, they
     9
         would be free to market their new, for-profit darts league under other, unrelated
    10
         names. As Defendants have not yet established any league play, they could easily
    11
         change their website and other promotional materials to reflect another name.
    12
                For these reasons, the balance of hardships tips in SCDA's favor and the
    13
         injunction should be issued on these grounds as well.
    14          E.        The Injunction Will Preserve the Status Quo
    15          One of the purposes of an interim injunction is to preserve the status quo.
    16   Chalkv. United States Dist. Ct., 840 F.2d 701,704 (9th Cir. 1988). The
    17   injunction here will serve to preserve the status quo ante litem-i.e., the status at
    18   the time when Defendants were not using Plaintiffs Southern California Darts
    19   Association marks without SCDA's consent. Go To. com v. Disney, 202 F.3d at
    20   1210 ("The status quo ante litem refers not simply to any situation before the
    21   filing of the lawsuit, but instead to 'the last uncontested status which preceded the

    22   pending controversy."') (citing Tanner Motor Livery, Ltd. v. Avis, Inc., 316 F.2d

   23    804, 809 (9th Cir. 196.3)).

   24          F.        A Bond Should Not Be Required

   25          Under Federal Rule of Civil Procedure 65( c), the Court has wide discretion
         in setting a bond as a condition to preliminary injunctive relief, including the
   26
         option of not requiring a bond at all. See, e.g., Moltan Co. v. Eagle-Picher Indus.,
   27
   28
                                                 - 18-
                                  MOTION FOR PRELIMINARY INJUNCTION
Case 2:12-cv-01899-RGK-JCG Document 8-1 Filed 03/19/12 Page 24 of 24 Page ID #:68




     1 Inc., 55 F.3d 1171, 1176 (6th Cir. 1995) (affirming district court's refusal to
     2   require any bond based on "the strength of [plaintiffs] case and the strong public
     3   interest involved"). Given the high likelihood of success on the merits as
         demonstrated above, SCDA should not be required to post a bond. Moreover,
     4
         SCDA is a non-profit association with a miniscule operating budget, and it would
     5
         invoke an undue hardship if it were required to post one. (Irete Decl., ~ 37.)
     6
         IV.   CONCLUSION
     7
               Therefore, SCDA respectfully requests that this Court issue an Order
     8
         enjoining Defendants, pending final judgment in this matter, from: (1) using the
     9
         SCDA Marks in any manner; (2) using any internet or other URLs containing the
    10
         words "Southern California Darts Association," "SCDA," or "SoCal Darts"; (3)
    11
         representing to the public, including but not limited to Association Members and
    12   Host Pubs, that Defendants have rights to the SCDA Marks. SCDA also requests
    13   that the order affirmatively require Defendants to: (1) file a notice of
    14   discontinuance of the trade name or a change of corporation name with the
    15   Secretary of State; and (2) issue a notice to the Host Pubs, Association Members,
    16   and other darts organizations containing a fair summary of this court's decision,
    17   attached to the Proposed Order as Exhibit A.
    18
         Dated: March 19, 2012
    19
    20                                    KA WAHITO SHRAGA & WESTRICK LLP
                                          James K. Kawahito
    21
    22                                    By: /s/ James Kawahito
                                          Attorneys for Plaintiff Southern California Darts
    23
                                          Association
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